         Case 5:14-cv-00665-F Document 341 Filed 08/14/20 Page 1 of 2




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA


RICHARD GLOSSP, et al.,                       )
                                              )
               Plaintiffs,                    )
                                              )
-vs-                                          )     Case No. CIV-14-0665-F
                                              )
RANDY CHANDLER, et al.,                       )
                                              )
               Defendants.                    )


                                 SCHEDULING ORDER

       The court enters the following scheduling order in this case:

                             Event                                Deadline
Plaintiffs’ preliminary witness list                           August 24, 2020
Defendants’ preliminary witness list                           August 24, 2020
Discovery cutoff except for expert witnesses                 November 18, 2020
Plaintiffs’ preliminary exhibit list                         November 24, 2020
Defendants’ preliminary exhibit list                         November 24, 2020
Plaintiffs’ expert reports                                     January 8, 2021
Defendants’ expert reports                                    January 15, 2021
Depositions of plaintiffs’ experts not later than             February 5, 2021
Depositions of defendants’ experts not later than             February 12, 2021
Plaintiffs’ final witness and exhibit lists                    March 12, 2021
Defendants’ final witness and exhibit lists                    March 12, 2021
Dispositive motions
      Initial Briefs:                                         February 19, 2021
      Opposition Briefs:                                       March 12, 2021
      Reply Briefs:                                            March 19, 2021
Trial briefs                                                    April 9, 2021
            Case 5:14-cv-00665-F Document 341 Filed 08/14/20 Page 2 of 2




                          Event                                Deadline
 Proposed Findings of Fact and Conclusions of Law            April 23, 2021
 Trial                                                  May 3, 2021, at 9:00 AM


         Entered this 14th day of August, 2020.




14-0665p075.docx




                                           2
